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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


ASEEM GURUNG, et. al.,                           ) CASE NO: 1:16-CV-0587
                                                 )
         Plaintiffs                              ) (Judge Kane)
                                                 )
   v.                                            )
                                                 )
UNITED STATES OF AMERICA, et. al.,               )
                                                 )
         Defendants                              )
                                                 )


                                    MEDIATION REPORT


        In accordance with the Court’s mediation order, a mediation conference was held on May

1, 2017, and the results of that conference are indicated below:



_____          The case has been completely settled.

__X__          The case has been partially settled. A settlement has been reached between
               Plaintiffs and the government defendants. The case will proceed against
               Pinnacle Health Hospital and its nurses.

_____          No settlement reached.

_____          The parties have reached an impasse. The parties and the mediator agree
               that a future mediation conference(s) may be beneficial and will engage in
               additional discussions if appropriate.

DATE: May 3, 2017

                                                     /s/ Jeffery T. Mcguire
                                                     _____________________________
                                                     Signature of Mediator

                                                     Jeffrey T. McGuire
                                                     ______________________________
                                                     Name of Mediator
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